                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

           v.                                      No. 19-04031-01-CR-C-BCW

 WESLEY BRIAN KASTER,

                               Defendant.

                    GOVERNMENT’S SENTENCING MEMORANDUM

       COMES NOW the United States of America, by and through Timothy A. Garrison, the

United States Attorney for the Western District of Missouri, and respectfully submits this

sentencing memorandum in the above captioned matter, set for a sentencing hearing on July 13,

2020. For the reasons set forth below, the Government recommends that the Court sentence the

defendant, Wesley Kaster, to 60 months’ incarceration and three years’ supervised release on

Count 1 and a concurrent sentence of 12 months’ incarceration and one year supervised release on

Count 2.

                                    I.      BACKGROUND

       On November 21, 2019, pursuant to a plea agreement, Kaster entered a guilty plea to a

Superseding Information alleging a violation of 18 U.S.C. § 844(f)(1), that is, explosive materials

– malicious damage to federal property, in Count 1 and with a violation of 18 U.S.C. § 248(a)(3),

that is, freedom of access to clinic entrances, in Count 2. The facts recited in the Pre-Sentence

Investigation Report (PSR) accurately reflect the facts relevant to this offense. The Court accepted

Kaster’s plea on December 18, 2019.




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       Over a period of days, Kaster manufactured an explosive device, a Molotov cocktail. On

February 10, 2019, Kaster broke the glass in the north entry door of Planned Parenthood, 711 N.

Providence Road, Columbia, Missouri, and threw the explosive device into the facility. The

Columbia Fire Department investigated the damage caused by the explosive device that Kaster

deployed and collected evidence. Kaster took these actions because Planned Parenthood provided

reproductive health services at 711 N. Providence Road, Columbia, Missouri, a total sentence of

60 months (concurrent 60-month and 12-month sentences) will protect the public, promote respect

the law, deter further criminal conduct and provide a just punishment for Kaster’s conduct.

       The United States Probation Office calculated the Sentencing Guidelines as follows:

       Base Offense Level: § 2K1.4 (a)(1)(A)                                                    24
       Acceptance of Responsibility § 3E1.1(a)                                                  -3
       Total Offense Level                                                                     21
       Criminal History Level                                                                    I
       Guidelines Range                                                                 60 months

There are no objections to the calculation of the guidelines. The guideline range of 37-46 months

was superseded by the mandatory minimum sentence on Count 1. An analysis of the § 3553(a)

factors confirms that Kaster should be sentenced to a total incarceration of 60 months followed by

three years’ supervised release.

                                      II.     DISCUSSION

       Although the Sentencing Guidelines are no longer mandatory, United States v. Booker, 543

U.S. 220 (2005), sentencing still begins with a properly calculated advisory Sentencing Guidelines

range. See Gall v. United States, 128 S. Ct. 586, 596 (2007); Rita v. United States, 127 S. Ct. 2456,

2464-65 (2007); Booker, 543 U.S. at 245-46; United States v. Plaza, 471 F.3d 728, 930 (8th Cir.

2006); and United States Sentencing Commission, Guidelines Manual, § 1B1.1(a). Next, the Court

must decide if a traditional departure under the Guidelines is appropriate, thus creating an advisory

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Guidelines sentencing range. Plaza, 471 F.3d at 930; and USSG § 1B1.1(b). After calculating the

advisory Guidelines range, the Court must consider that range, along with all the factors listed in

18 U.S.C. § 3553(a), in arriving at the final sentence. Kimbrough v. United States, 128 S. Ct. 558,

564 (2007); Plaza, 471 F.3d at 930; and USSG § 1.1B1(c).

A.     Application of the § 3553(a) Factors

       Prior to imposing sentence, the Court is required to consider Kaster’s history and

characteristics, 18 U.S.C. § 3553(a)(1), whether a particular sentence is necessary to protect the

public from his further crimes, 18 U.S.C. § 3553(a)(1)(C), the nature and circumstances of Kaster’s

offense of conviction, 18 U.S.C. § 3553(a)(1), the type of sentence called for by statute and the

advisory Guidelines, 18 U.S.C. §§ 3553(a)(3) and (a)(4), the need for the sentence to reflect the

seriousness of the offense, promote respect for the law, and provide just punishment for the

offense, 18 U.S.C. § 3553(a)(2)(A), and the type of sentence needed to afford adequate deterrence

to criminal conduct. 18 U.S.C. § 3553(a)(2)(B).

       In this case, the Court should impose a sentence of 60 months to protect the public, promote

respect for the law and incapacitate Kaster from committing additional crimes.               Upon

consideration of Kaster’s history and characteristics and the nature and circumstances of his

offense, a sentence of 60 months’ incarceration and three years’ supervised release will also

provide just punishment for the offense.

       1.       Kaster’s History and Characteristics

       Kaster will be 43 years old when the Court imposes his sentence. Kaster has no history of

mental or physical health issues, but has regularly used alcohol and marijuana. Implements used

to grow marijuana were seized from Kaster’s residence in connection with this investigation.

Kaster has no criminal history and served in the United States Navy from 1998 until March 2006.

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Kaster has been terminated from three jobs since leaving military service, but appears to have

marketable skills.

       2.       The Need to Protect the Public from Kaster’s Future Crimes

       Kaster’s conduct has exposed the community to an unacceptable risk of danger. His use

of an explosive device was intended to prevent access to a health care clinic receiving federal

funding. Kaster manufactured this device in his basement shop with materials purchased in

Columbia. The imposition of a total sentence of 60 months will protect the public, promote respect

for the law, deter Kaster and others from committing additional crimes, and provide just

punishment.

       3.       The Nature and Circumstances of Kaster’s Offense

       Kaster’s crime, which was motivated by his personal beliefs about reproductive health care,

prevented patients of the Columbia Health Clinic from receiving a variety of health care services

for approximately one week as the result of the arson he committed and caused significant physical

damage to the facility. This Court and society cannot tolerate the use of violence to achieve desired

policy outcomes. This is the antithesis of everything for which the best ideals of this nation have

always stood. These circumstances demand that the Court impose a total sentence of 60 months

to protect the public, promote respect for the law, deter Kaster and others from using violence, and

provide just punishment for the crime.

       4.       The Need to Afford Adequate Deterrence to Criminal Conduct

       Deterrence is both general and specific. This Court has the authority to impose a sentence

that specifically incapacitates Kaster from committing additional crimes for the term of his

imprisonment and period of supervised release. To the extent that others are paying attention, the

goal of general deterrence will also be achieved.

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       5.       Balancing of All § 3553(a) Factors

       On balance, after weighing the relevant §3553(a) factors the Government recommends that

the Court impose a total sentence of 60 months followed by three years’ supervised release.

B.     Recommended Sentence for Monetary Penalties

       1.       Fine

       The Government recommends that the Court waive imposition of a fine.

       2.       Special Assessment

       The $100 Special Assessment is mandatory, and is due in full no later than the date of

sentencing.

                                     III.   CONCLUSION

       The Government respectfully submits that a total sentence of 60 months followed by three

years’ supervised release constitutes a sentence sufficient, but not greater than necessary, to

achieve justice.

                                            Respectfully submitted,

                                            Timothy A. Garrison
                                            United States Attorney

                                      By             /S/

                                            Michael S. Oliver
                                            Assistant United States Attorney
                                            Missouri Bar No. 41832




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 2,

2020, to the CM-ECF system of the United States District Court for the Western District of

Missouri for electronic delivery to all counsel of record.


                                                     /S/
                                              Michael S. Oliver
                                              Assistant United States Attorney




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